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UNITED STATES DISTRICT COURE| L E D

EASTERN DISTRICTOF CALIFORNIA

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~ I U.S, DISTRICT COURT _
BA BD DISTRICT OF CALIFORNIA
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UNITED STATES OF AMERICA aah at DEPUTY Glen
V. ,
Daniel Chartraw CRIMINAL COMPLAINT
CASE NUMBER:
(Name and Address of Defendant) 2 1 2 - M i ~ —_—e .

J 7 ~ IN

I, the undersigned complainant state that the following is true and correct to the best of my knowledge and
belief. On or about November 22, 2010 and June 7, 2011 in El Dorado County, in the Eastern District of
California defendant did,

having devised a scheme and artifice to defraud, and for obtaining money or property by means of false and fraudulent pretenses,
representations, or promises, transmit and cause to be transmitted by means of wire communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of executing such scheme and artifice

in violation of Title 18, United States Code, Section(s) 1343. | further state that | am a(n) Special Agent with
the Federal Bureau of Investigation and that this complaint is based on the following facts:

>» See Attached Affidavit of Richard Snodgrass

Continued on the attached sheet and made a part of this complaint: _X_ AL yD / /
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* Vv
Signature of Complainarfl Richard J. Snédgrass
Federal Bureau of Investigation

Sworn to before me, and signed in my presence

Felbvan, Zl Bop at Sacramento, California
T 7

Date City State

Kendall J. Newman, U.S. Magistrate Judge Zi UZ
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Name of Judge Title of Judge Signature of Judge
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Affidavit of Richard Snodgrass

I, Richard J. Snodgrass, being duly sworn, do depose and state
the following:

I. Background

1. I have been employed as a Special Agent of the Federal
Bureau of Investigation (FBI) since November of 1984 and am currently
assigned to the white collar crime squad of the Sacramento office of
the FBI. My duties involve the investigation of financial crimes.

2. During my employment with the FBI, I have participated
directly and indirectly in hundreds of investigations regarding white
collar criminal violations, including but not limited to, wire fraud, —
mail fraud, securities fraud, health care fraud, private insurance
fraud, public corruption, fraud against the government, money
laundering, and computer related fraud.

3. I have received training in white collar criminal
investigative techniques and have taught classes in money laundering,
forfeiture, and white collar crime investigation techniques at the FBI
Academy at Quantico, Virginia, and elsewhere.

4. Based on my personal participation, including my review
of documents, I am familiar with the facts and circumstances of this

investigation. The information set forth in this affidavit reflects

| my personal knowledge based on my review of documents and interviews

with persons connected to the investigation, and, in conjunction with
my training and experience as an FBI Agent, form the basis of the
opinions and conclusions set forth below. This affidavit is being
submitted for the limited purpose of securing authorization to arrest

an individual, therefore, I have not included each and every fact

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known to me concerning this investigation. Where necessary to protect
the privacy of financial information and those involved in the
investigation, I have used initials rather than full names, the letter
“X” in place of numbers or letters, and brackets to reflect
abbreviations.

II. Violations

5. This affidavit seeks to establish probable cause for
the issuance of a criminal complaint and arrest warrant for Daniel
Chartraw for violations of Title 18, United States Code, Section 1343,
Wire Fraud. In summary, 18 U.S.C. § 1343 makes it a crime to having
devised or intending to devise any scheme or artifice to defraud, or
for obtaining money or property by means of false or fraudulent
pretenses, representations or promises, transmit or cause to be
transmitted by means of wire, any writings, signs, signals, pictures,
or sounds for the purpose of executing such scheme.

IIl. Overview
6. In approximately May 2011, Daniel Chartraw, convinced

two individuals, H.G. and J.Cc., to wire him $75,000 (on June 7, 2011)

and $25,000, respectively, by stating that he needed a loan in order

to make a lease payment on a piece of mining equipment. As security.
for the loan, Chartraw provided his victims a Bill of Lading and
claimed that he sent $300,000 worth of gold as security. The Bill of
Lading was later found to be fraudulent and Chartraw never repaid the
money. Moreover, the money was largely spent by Chartraw ona
Cadillac, not a piece of mining equipment.

7. In approximately November 2010, Daniel Chartraw and
Leslie Gilbert falsely claimed that they were officers of AZ Rock

Holdings and that they needed investment money in order to refine Dore

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bars and extract the precious metals from them. As a result, victim
J.F.C. wired $1,000,000 (on November 22, 2010) to an account
controlled by Chartraw. Although this account purported to be for the
benefit of AZ Rock, the money was largely distributed to other
accounts controlled by Chartraw and Gilbert and was not used to refine
metals.

Iv. Statement of Probable Cause

The Mining Equipment Loan:

8. In July of 2011, H. G., a resident of New York state,
contacted the Federal Bureau of Investigation (FBI), to lodge a
complaint regarding an alleged fraud committed by Daniel Chartraw.
Chartraw is a former resident of El Dorado Hills, California, the
subject of several pre-existing accusations of fraud, and was, at the
time, a target of a pending FBI investigation opened in the Sacramento
division.

9. H.G. told me that Chartraw had been referred to him by
a business associate by the name of J.C. in approximately May 2011.
J.C. told H.G. that Chartraw owned a gold mining operation and that
Chartraw desired to borrow, on a short term basis, a sum of money to
use for a lease payment on a piece of mining equipment and that
Chartraw was offering to transfer a quantity of gold as collateral.
H.G. called Chartraw to inquire further.

10. Chartraw told H.G. he wanted to borrow $75,000 from
H.G. in order to make a lease payment on gold refining machinery he
was using at one of the mines that he owned. He told H.G. that if he
lost the machinery he would be out of production at his mine. In
return for the loan, Chartraw promised to repay the loan within five

days, plus an additional amount equal to 6% of the amount loaned. .

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Chartraw told H.G. he would provide collateral for the loan in the
form of $300,000 worth of gold bars that he was currently shipping to
J.C. in New York. J.C. was to hold the gold bars as collateral.
Chartraw sent an email with a Bill of Lading attached to J.C. and J.C.,
forwarded a copy ofa Bill of Lading to H.G. The Bill of Lading,
bearing what appeared to be the signature of Daniel Chartraw as
"shipper," documented the shipment of the gold to J.C. via Hellman
Worldwide Logistics. H.G. was reassured by Chartraw that his loan
would be safe as the Bill of Lading demonstrated Chartraw had sent the
collateral to J.C. H.G. then agreed to loan Chartraw $75,000.
Chartraw told H.G. he was using an attorney by the name of J.H.,
located in Folsom, California, to facilitate the transaction and sent
H.G. an email with instructions to wire transfer the $75,000 to an
escrow account, number XXXXX9731, maintained by J.H. at JP Morgan
Chase. H.G. wired the money from his TD Ameritrade account on or
about June 7, 2011, to the escrow account maintained by Hoffman at JP |
Morgan Chase. J.C. never received the gold shipment and Chartraw
never repaid the money loaned to him by H.G.

11. J.C., a resident of Miller Place, N.Y., stated that he
became acquainted with Chartraw in approximately March 2011. Chartraw
told J.C. he was asset rich but cash poor and that he desperately
needed a bridge loan for the purpose of making a lease payment ona
piece of mining equipment that his business relied upon. Chartraw
told J.C. he would repay the loan in two weeks, but in any case, not
more than 30 days. He told J.C. he needed to borrow $100,000.
Chartraw told J.C. he would ship J.C. gold bars that J.C. could hold
as security until Chartraw paid him back. Chartraw stated he would

ship the bars "tonight" and thereafter emailed J.C. a Bill of Lading

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indicating the bars were in transit to J.C.'s home address in New
York. J.C. told Chartraw that he wanted to see the gold first, before
loaning him money. Chartraw pleaded to J.C. to loan him the money
quickly, as time was of the essence. He told J.C. the gold would take
three days to arrive in New York but that the lease payment on the
mining equipment had to be made immediately. J.C. agreed to loan
Chartraw $25,000 and did so on June 6, 2011, by transferring $25,000
he held in his account at JP Morgan Chase directly to Chartraw's
account, number XXXXXX9335, at JP Morgan Chase. J.c. did not receive
the gold shipment and Chartraw did not repay the $25,000 or the
interest owed to J.C.

12. H.G. provided me with a copy of the Bill of Lading
concerning the gold shipment. A review of the Bill of Lading, dated
June 6, 2011, indicates that 5.15 kilos of gold was shipped on June 7,
2011, from a bonded warehouse at the Port of Montana to [J.C.’s
address], Miller Place, N.Y¥., via Hellmann Worldwide Logistics. The
Bill indicates the freight was counted and loaded by the shipper and a
Hellmann seal was affixed to the Bill indicating the shipment was
picked up on June 7, 2011. A signature appears on the Bill of Lading |
beneath the caption “Shipper Signature.” I am familiar with the
signature of Daniel Chartraw. The signature appearing on the Bill of
Lading appears to be a signature consistent with that of Daniel
Chartraw. I contacted a representative of Hellmann Worldwide
Logistics. The representative told me there was no record of the
above described shipment ever existing and that the Bill of Lading was
fraudulent.

13. I obtained and reviewed records from JP Morgan Chase,

via Federal Grand Jury subpoena, for accounts numbered XXXXX9731 and

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XXXXXX9335. A review of these records revealed XXXXX9731 is an
account styled as [J.H.] Attorney at Law IOLTA Trust Account XXXX, E
Bidwell St., Ste XXX, Folsom, CA and XXXXXX9335 is an account styled
as Louise K. Chartraw or Daniel L. Chartraw or Mrs. Martha M.
Chartraw, XXX Mission St., Lodi, CA.

14. A review of the bank statement for account number
XXXXX9731 (J.H.) indicates that a deposit of $75,000 was received into
this account on June 7, 2011, by Fed Wire Credit for the benefit of
H.G. The statement reflected a beginning balance of $105.40 prior to
receipt of the $75,000. The statement indicates a withdrawal of
$75,000 on the same day and an ending balance of $105.40.

15. A review of the bank statement for account number
XXXXXX9335 (Chartraw) indicates a deposit of $75,000 was received into
this account on June 7, 2011. This statement also reflects a deposit
of $25,000 on June 6, 2011. As of June 7, 2011, the statement
reflects a balance in the account of $100,023. Also reflected in this

statement is a withdrawal, dated June 7, 2011, of $83,601.69. The

corresponding withdrawal slip indicates the $83,601.69 was used to

purchase a JP Morgan Chase cashier’s check in the amount of
$83,601.69, made payable to Butts Cadillac. The withdrawal slip also
bears the printed name of Daniel Chartraw as the purchaser of the
cashier's check. The balance in this account following the withdrawal
of the $83,601.69 was $15,922.

16. I contacted Butts Pontiac Cadillac, Inc. and
interviewed office manager L.M. L.M. told me the $83,601.69 cashier's
check was used by Daniel Chartraw to purchase a 2011 Cadillac
Escalade, VIN 1GYS4JEF1BR263641.

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17. I interviewed C.P., car salesman, Butts Cadillac. C.P.
told me he was the sales representative that sold the Cadillac
Escalade to Chartraw. He told me Chartraw came into the dealership on
several occasions and that he had lengthy discussions with Chartraw.

I transmitted, by email enclosure, a photo lineup of six parties to
C.P. C.P. received the photo lineup as I spoke to him on the
telephone. Within ten seconds of first viewing the photo lineup, C.P.
told me that photo number 4, first photo on the left, second row, was
a picture of the man known to him as Daniel Chartraw. Photo number 4
is known to me to be a picture of Chartraw.

The Dore Bar Investment:

18. On February 6, 2012, I interviewed J.F.C., a resident
of North Carolina.

19. J.F.C. told me that in 2010 he entered into a series of
phone conversations with Daniel Chartraw and Leslie Gilbert regarding |
the possible purchase of unrefined precious metals from Chartraw and
Gilbert.

20. Chartraw and Gilbert told J.F.C. they were officers of
a company called AZ Rock Holdings (hereinafter, “AZ Rock”), and that
AZ Rock possessed powdered minerals and Dore bars containing precious
metals. Chartraw and Gilbert told J.F.c. that if J.F.C. paid AZ Rock
$1 million he and his partners could make a profit of $3 million by
having the bars refined and the precious metals extracted.

21. On November 22, 2010, J.F.C., relying on
representations made to him by Chartraw and Gilbert, caused his
attorney, B.C., to wire $1 million from his client trust account at

Regions Bank in North Carolina to an escrow account controlled by list

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National Title Insurance Agency (hereinafter, “lst National”),
maintained at JP Morgan Chase Bank in Orem, Utah.

22. I obtained, by Federal Grand Jury Subpoena, the escrow
file from 1st National regarding the above referenced escrow account.
A review of the escrow file indicated that lst National received a
document entitled “AZ Rock Holdings, LLC ... Letter of Introduction
and Mandate Authority.” This letter bears the signatures of L.N. and
Daniel Chartraw, both as “Principle/Partner” of AZ Rock Holdings, and
purportedly authorizes Leslie Gilbert to enter into “all aspects of
business dealings” on behalf of AZ Rock Holdings. Further, the escrow
file contained bank account records in the form of account statements,
cancelled checks, and wire transmittal statements. The file also
contained numerous emails and letters, all bearing the signature of
Leslie Gilbert. Those emails and letters instructed officers at Ist
National to disburse all of the monies held in the escrow account to
persons or entities named by Gilbert, including himself and Daniel |
Chartraw.

23. I interviewed L.N., the owner of AZ Rock Holdings, LLC,
11411 N 91st Avenue, Peoria, Arizona. L.N. told me that Daniel
Chartraw was not a partner or owner in AZ Rock and neither Chartraw
nor Leslie Gilbert had authority to act for AZ Rock. L.N., after
reviewing the AZ Rock Holdings, LLC, Letter of Introduction and
Mandate Authority I provided to him, stated his signature appearing
thereon was a forgery. L.N. told me he had agreed to sell J.F.C. and
his partners a quantity of Dore bars but had never received, nor had
he ever known about, the $1 million sent by J.F.C.'s attorney to lst

National Title.

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24. The escrow file contained bank account records
pertaining to an escrow account opened by 1st National at JP Morgan
Chase Bank. A wire statement among those records revealed that on
November 22, 2010, a wire transfer, sent via Fed Wire, in the amount
of $1,000,000, was received into the escrow account from the account
of B.C. at Regions Bank, North Carolina, for the benefit of AZ Rock.

25. The escrow file also contained a copy of a document
entitled “Escrow Disbursement Instructions,” bearing the signature of
Les Gilbert, which read as follow: “I Les Gilbert, as an authorized
representative of AZ Rock, LLC, do hereby instruct lst National to
cause to be released the following amounts from the escrow I had
previously opened for the purchase of real property. The amounts are
as follows: wees $400,000 shall be transferred to [J.H.'s law firm],
Attorneys for Daniel L. Chartraw wire coordinates attached hereto
$98,000 shall be transferred to Daniel Chartraw at his account as
follows: Chase Bank 2445 W Kettleman Lane, Lodi, CA 95242” Account
Name Daniel L. Chartraw, Account # XXXXXX9335....”

26. Also found in the escrow file were copies of five
emails, dated 12/23/2010, 12/31/2010, 1/14/2011, 1/26/2011, and
3/16/2011, addressed from Leslie Gilbert to employees at 1st National,
directing those employees to disburse monies from the escrow account
in the amounts of $5000, $5000, $10,000, $5000, and $8000,
respectively, to “Daniel, Chartraw’s account at Chase...account number
XXXXXX9335." Copies of wire payment records provided by JP Morgan
Chase, corresponding with the above five noted disbursement requests,
were also found in the escrow file.

27. The escrow file also contained a copy of a memo

addressed to Daniel Chartraw from J.H., dated October 4, 2010, which

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read in part “....any monies received in this account will be deemed
as received by Daniel L. Chartraw... receiving institution information
Chase Bank 1012-1 Riley Street Folsom, CA ... account number
XXXXXX7310."

28. Bank records were obtained via Federal Grand Jury
subpoena regarding JP Morgan Chase accounts XXXXX9731 and XXXXXX9335.
Review of these records indicated that all of the above noted monies
as requested to be disbursed to either 3.H.'s firm ($400,000) for the
benefit of Daniel Chartraw or to Chartraw at Chase Bank in Lodi
($132,000) were thereafter spent by Chartraw at his direction or by
him personally. None of these monies were used to build a refinery
and none were directed to AZ Rock.

29. L.N., owner of AZ Rock, told me he was present when
J.F.C. visited the AZ Rock facility in Phoenix, Arizona, and met
personally with Chartraw and Gilbert for several hours, toured the AZ
Rock facility, and observed the supply of Dore bars. As I interviewed
L.N. on the telephone I transmitted to him, by email attachment, a
photo lineup of six parties. L.N. opened the attachment and
immediately identified the picture therein known to me as a photo of
Daniel Chartraw as the same person known to L.N. as Daniel Chartraw
and the same person who had met with J.F.C. when J.F.C. toured the AZ
Rock facility in Phoenix.

30. J.F.C. told me that only 252 pounds of Dore bars were
ever shipped to Belgium. Those bars were found to consist of 99%
copper.

31. J.F.C. questioned Chartraw as to why the one ton of
bars was not shipped. Chartraw blamed L.N. L.N. told me that he

never shipped the one ton of bars because he never knew the $1 million

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payment had been received by Chartraw and Gilbert. According to
J.F.C. Chartraw has broken off communication with J.F.C.

32. Fed Wire, also known as the Federal Reserve Wire
Network, is a computerized funds transfer system maintained by the
Federal Reserve. All monies transmitted via the Fed Wire system are

moved via electronic signals through the Federal Reserve information

center located in East Rutherford, N.Jd.

Vv. Chartraw’s Fugitive Status

33. On September 1, 2011, two warrants, with bail set at
$250,000 each, were issued by a Superior Court Judge in Salinas,
California, based on Chartraw's failure to appear regarding felony
charges of grand theft and embezzlement concerning allegations
involving the swindling of an elderly resident of Carmel, California,
by promising a return on an investment associated with a gold mine and
felony charges concerning allegations of corporal injury on a spouse.
Chartraw had been free on bond at the time he failed to appear at
hearings on both charges and became a fugitive; he is currently at
large.

VI. Conclusion and Request for Sealing

For the foregoing reasons, I respectfully request that the Court
issue a criminal complaint and arrest warrant for Daniel Chartraw.

I further request that the Court order that this affidavit,
complaint and arrest warrant remain under seal until order of the
Court. Without such an order, the defendant may be alerted to the
federal investigation, learn of the extent of the government’s
knowledge of his activities, become harder to locate, and place
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pressure on potential witnesses to not cooperate, or otherwise impede

the ongoing investigation.

I declare under penalty of perjury that the foregoing is true and

correct to the best of my knowledge and belief.

RAS A pp Aemee

Richard J.VSnodgrass,’ Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me
This 2.1 day of February, 2012

AAW p-

Honorable Kef#idall J. Newman
United States Magistrate Judge

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Approved as to form:

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Michael D. Anderson
Assistant U.S. Attorney

